Case 1:21-cv-22330-MGC Document 1 Entered on FLSD Docket 06/24/2021 Page 1 of 11




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION

     Civil Action Number:

     JESUS GONZALEZ

            Plaintiff,
     vs.

     MARSHALLS OF MA, INC.
     d/b/a Marshalls #1101036, and
     HART MIRACLE MARKETPLACE, LLC

                   Defendants.
                                                   /

                            COMPLAINT FOR INJUNCTIVE RELIEF

            Plaintiff Jesus Gonzalez (“Plaintiff”), by and through his undersigned counsel,

     hereby sues Defendant Marshalls of MA, Inc. doing business as Marshalls #1101036 and

     Defendant Hart Miracle Marketplace, LLC for injunctive relief pursuant to 42 U.S.C.

     §§12181-12189 of the Americans with Disabilities Act (“ADA”) and 28 C.F.R. Part 36 and

     alleges:

                                           JURISDICTION

            1.      This is an action for declaratory and injunctive relief pursuant to Title III of

     the Americans with Disabilities Act (“ADA”) 42 U.S.C. §§12181-12189. This Court is

     vested with original jurisdiction under 28 U.S.C. §1331.

            2.      Venue is proper in the Court, pursuant to 28 U.S.C. §1391(b) in that all

     events giving rise to this lawsuit occurred within the Southern District of Florida and the

     subject premises is located within the jurisdiction of this Court.




                                                       1
Case 1:21-cv-22330-MGC Document 1 Entered on FLSD Docket 06/24/2021 Page 2 of 11




            3.      Defendants are authorized to conduct, and are conducting, business within

     the State of Florida and within the jurisdiction of this court.

                                                PARTIES

            4.      Plaintiff Jesus Gonzalez is a resident of the state of Florida. Plaintiff has

     “qualified disability” under the ADA as he is disabled with neuropathy and nerve damage

     due to radiation and utilizes a wheelchair for mobility. Plaintiff’s disability is defined in 42

     US Code §12102(1)(A), (2) and in 28 C.F.R. §36.105(b)(2) and 28 C.F.R.

     §36.105(2)(iii)(D).

            5.      Defendant Marshalls of MA, Inc. (also referenced as “Defendant Marshalls,

     Inc.,” “operator,” lessee” or “co-Defendant”) is a foreign corporation authorized to transact

     business in Florida. Marshalls of MA, Inc. is a subsidiary of Marshalls, Inc., which is a

     subsidiary of TJX Companies. The parent TJX Companies is an American multinational off-

     price department store corporation which is a NYSE company and part of the S&P 500

     retail component.

            6.      Defendant Hart Miracle Marketplace, LLC (also referenced as “Defendant

     Hart LLC,” “Lessor,” “Owner,” or “co-Defendant”) is the owner of real property located at

     3301 Coral Way, Coral Gables, Florida 33145, which is also referenced as Folio 01-4109-

     069-0020. Defendant Hart LLC’s real property is built out as a mixed-use commercial

     center. Hart LLC leases its mixed-use commercial center (in part) to a DSW retail store, a

     Nordstroms Rack retail store, a PetSmart retail store, a Hooters restaurant, an LA Fitness

     Athletic club and the Marshalls store which is the subject of this instant action. The

     Marshalls store is the portion of Defendant Hart LLC’s commercial property, which is




                                                     2
Case 1:21-cv-22330-MGC Document 1 Entered on FLSD Docket 06/24/2021 Page 3 of 11




     leased to co-Defendant Marshalls, Inc. who in turn operates its Marshalls brand retail store

     at that location.

                                                FACTS

             7.      The Marshalls brand is an American chain of off-price department stores.

     There are over 1,000 Marshalls stores in 42 of the United States and Puerto Rico and 61

     Marshalls stores in Canada. Marshalls stores sell clothing, footwear, handbags, accessories,

     and home goods. All Marshalls stores are places of public accommodation pursuant to 42

     U.S.C. §12181(7)(E) and 28 C.F.R. §36.104(5) as an “other” sales establishment. The

     Marshalls store located at 3301 Coral Way which is the subject of this complaint is also

     referenced as “Marshalls (store),” “Marshalls #1101036,” “(retail) store,” or “place of public

     accommodation.”

             8.      As the operator of retail stores which are open to the public, Defendant

     Marshalls, Inc. is defined as a “Public Accommodation” within meaning of Title III because

     it is a private entity which owns, or operates a retail store; 42 U.S.C. §12182, §12181(7)(E);

     28 C.F.R. §36.104(5).

             9.      Due to the close proximity to Plaintiff’s home to the Marshalls store at 3301

     Coral Way, on May 30, 2021 Plaintiff went to the Marshalls store to do some shopping.

             10.     On entering the Marshalls store, Plaintiff had occasion to visit the restroom

     and while in the restroom Plaintiff met multiple areas of inaccessibility due to the fact that

     he is confined to his wheelchair.

             11.     Due to the inaccessible restroom facilities, Plaintiff has been denied full and

     equal access by the operator/lessee of the retail store (Defendant Marshalls, Inc.) and by the




                                                    3
Case 1:21-cv-22330-MGC Document 1 Entered on FLSD Docket 06/24/2021 Page 4 of 11




     owner/lessor of the commercial property which houses the retail store (Defendant Hart

     LLC).

             12.       As owner/operator of over 1,000 retail stores, Defendant Marshalls, Inc. is

     well aware of the ADA and the need to provide for equal access in all areas of its stores.

     Therefore, Defendant Marshalls, Inc.’s failure to reasonably accommodate mobility

     impaired and disabled patrons by insuring that its Marshalls #1101036 is fully accessible

     is/was willful, malicious, and oppressive and in complete disregard for the Civil Rights of

     the Plaintiff and in violation of 28 C.F.R. §36.303.

             13.       As the owner of commercial real property, part of which is operated as retail

     stores open to the public, Defendant Hart LLC is also a “Public Accommodation” pursuant

     to 42 U.S.C. §12181(7)(E) and 28 C.F.R. §36.104(5). On information and belief, as an

     investor and owner of commercial property being used as a public accommodation,

     Defendant Hart LLC is aware of the ADA and the need to provide for equal access in all

     areas of its commercial property which are open to the public. Failure to reasonably

     accommodate mobility impaired and disabled patrons at its commercial property by

     ensuring that its commercial property is fully accessible is/was willful, malicious, and

     oppressive and in complete disregard for the civil rights of the Plaintiff and in violation of

     28 C.F.R. §36.303.

             14.       As a result of the joint and several discrimination by Defendants, Plaintiff

     has suffered loss of dignity, mental anguish and other tangible injuries and has suffered an

     injury-in-fact.




                                                     4
Case 1:21-cv-22330-MGC Document 1 Entered on FLSD Docket 06/24/2021 Page 5 of 11




            15.     Plaintiff continues to desire to patronize the Marshalls #1101036, but

     continues to be injured in that he continues to be discriminated against due to the barriers to

     access within that place of public accommodation, all which are in violation of the ADA.

            16.     Any and all requisite notice has been provided.

            17.     Plaintiff has been obligated to retain the civil rights law office of J. Courtney

     Cunningham, PLLC and has agreed to pay a reasonable fee for services in the prosecution of

     this cause, including costs and expenses incurred. Plaintiff is entitled to recover those

     attorney’s fees, costs and expenses from Defendants pursuant to 42 U.S.C. §12205.

                     COUNT I – VIOLATIONS OF TITLE III OF THE ADA

            18.     The ADA was enacted and effective as of July 26, 1990 and ADA legislation

     has been protecting disabled persons from discrimination due to disabilities since that time.

     Since 30 years have passed since enactment of the ADA, public accommodations and places

     of public accommodation have had adequate time for compliance.

            19.     Congress explicitly stated that the purpose of the ADA was to:

            (i)     provide a clear and comprehensive national mandate for the
                     elimination of discrimination against individuals with disabilities;
            (ii)    provide clear, strong, consistent, enforceable standards addressing
                     discrimination against individuals with disabilities; and,
            (iii)   invoke the sweep of congressional authority, including the power to
                     enforce the fourteenth amendment and to regulate commerce, in
                     order to address the major areas of discrimination faced on a daily
                     by people with disabilities.

                    42 U.S.C. §12101(b)(1)(2) and (4).

            20.     Prior to the filing of this lawsuit, Plaintiff personally visited the Marshalls

     store at Coral Way, however Plaintiff was denied adequate accommodation because, as a

     disabled individual who utilizes a wheelchair for mobility, Plaintiff met architectural

     barriers when he went to the restroom. Therefore, Plaintiff has suffered an injury in fact.



                                                    5
Case 1:21-cv-22330-MGC Document 1 Entered on FLSD Docket 06/24/2021 Page 6 of 11




            21.     Defendant Marshalls, Inc. (operator of the Marshalls store which is located at

     3301 Coral Way) and Defendant Hart LLC (owner of the 3301 Coral Way commercial

     property) have discriminated (and continue to discriminate) against Plaintiff by denying full

     and equal access to, and full and equal enjoyment of, goods, services, facilities, privileges,

     advantages and/or accommodations at the subject Marshalls store, in derogation of 42

     U.S.C. §12101 et. seq., and as prohibited by 42 U.S.C. §12182 et. seq. by failing to barriers

     to access pursuant to 42 U.S.C. §12182(b)(2)(a)(iv), where such removal is readily

     achievable.

            22.     Plaintiff has been unable to, and continues to be unable to, enjoy full and

     equal safe access to, and the benefits of, the accommodations and services offered at the

     Marshalls #1101036.

            23.     Defendants are jointly and singularly governed by the ADA and must be in

     compliance therewith. Defendants have jointly and severally discriminated against Plaintiff,

     a disabled patron, in derogation of 28 C.F.R. Part 36.

            24.     Pursuant to the mandates of 42 U.S.C. §12134(a), on July 26, 1991 (as

     amended), the Department of Justice, Office of the Attorney General, promulgated Federal

     Regulations to implement the requirements of the ADA, known as the Americans with

     Disabilities Act Accessibility Guidelines (hereinafter “ADAAG”), 28 C.F.R. Part 36, under

     which said Department may obtain civil penalties of up to $75,000 for the first violation and

     $150,000 for any subsequent violation.

            25.     The commercial space which is owned by Defendant Hart LLC and which

     houses the Marshalls store (operated by Defendant Marshalls, Inc.) is in violation of 42

     U.S.C. §12181 et. seq., the ADA, and 28 C.F.R. §36.302 et. seq. As such, both the




                                                   6
Case 1:21-cv-22330-MGC Document 1 Entered on FLSD Docket 06/24/2021 Page 7 of 11




     owner/lessor and the tenant/lessee are discriminating against the Plaintiff as a result of inter

     alia, the following specific violations:

        i.   As to Defendant Marshalls, Inc. (lessee/operator) and Defendant Hart LLC

             (owner/lessor of the property) (jointly and severally), Plaintiff had difficulty closing

             the stall door, as the toilet compartment stall door was missing pull handles on both

             sides of the door near the latch. This is a violation of 28 C.F.R. Part 36, Section

             4.27.4 of the ADAAG, and Section §604.8.1.2 of the 2010 ADA Standards for

             Accessible Design.

       ii.   As to Defendant Marshalls, Inc. (lessee/operator) and Defendant Hart LLC

             (owner/lessor of the property) (jointly and severally), Plaintiff could not transfer to

             the toilet without assistance, as the required maneuvering clearance was not provided

             due to the encroaching item (trash can). The fact that the trash bin is encroaching

             over the accessible water closet clear floor space is a violation of Section 4.16.2 of

             the ADAAG and Sections 604.3.1 of the 2010 ADA Standards for Accessible

             Design.

      iii.   As to Defendant Marshalls, Inc. (lessee/operator) and Defendant Hart LLC

             (owner/lessor of the property) (jointly and severally), Plaintiff could not enter the

             accessible stall area without assistance, as the required maneuvering clearance on the

             pull side of the door is not provided due to a stall partition. This is a violation of

             4.13.6 of the ADAAG and Section 404.2.4 of the 2010 ADA Standards for

             Accessible Design. Section 4.13.6 states that the minimum maneuvering clearances

             for doors be within specifications shown in Fig. 25 and that the ground floor within

             the required clearance be level and clear. The clear maneuvering clearance for a




                                                    7
Case 1:21-cv-22330-MGC Document 1 Entered on FLSD Docket 06/24/2021 Page 8 of 11




            front approach must be 48 min (and for side approach, 54 by 42 min), which not

            attained in the instant case.

      iv.   As to Defendant Marshalls, Inc. (lessee/operator) and Defendant Hart LLC

            (owner/lessor of the property) (jointly and severally), Plaintiff could not use the

            toilet tissue dispenser without assistance in the accessible toilet compartment as the

            toilet tissue dispenser is not in the proper position or at the correct height above the

            finished floor, in violation of 2010 ADAAG §§604, 604.7 in violation of 28 C.F.R.

            Part 36, Section 604.9.6 which states that toilet paper dispenses shall comply with

            Section 309.4 and shall be 7 inches (180 cm) minimum and 9 inches (230 cm)

            maximum in front of the water closet and the outlet for the dispense shall be 14

            inches (355 cm) minimum and 19 inches (485 cm) maximum above the finished

            floor, and in violation of 309.4 and/or §4.16.6 of the 1991 ADA Standards.

      v.    As to Defendant Marshalls, Inc. (lessee/operator) and Defendant Hart LLC

            (owner/lessor of the property) (jointly and severally), Plaintiff could not use the seat

            cover dispenser without assistance, as it is mounted behind the water closet and out

            of reach for Plaintiff due to his disability. This is a violation of Section 4.2.5 at Fig.

            5(b) of the ADAAG and Section 308.2.1 of the 2010 ADA Standards for Accessible

            Design. Generally, the standards which require dispensers such as a seat cover

            dispenser be placed so that the maximum high forward reach is 48 in (1220 mm) and

            the minimum low forward reach is 15 in (380 mm) (see Fig. 5(a)). However, in this

            instance, due to the obstruction (of the toilet) to the seat cover dispenser, since the

            high forward reach is over an obstruction, Section 4.2.5 states that reach and




                                                    8
Case 1:21-cv-22330-MGC Document 1 Entered on FLSD Docket 06/24/2021 Page 9 of 11




             clearances must meet those shown in Fig. 5(b), so that the maximum high forward

             reach is 46 in (1170 mm) and the minimum low forward reach is 34 in (865 mm).

      vi.    As to Defendant Marshalls, Inc. (lessee/operator) and Defendant Hart LLC

             (owner/lessor of the property) (jointly and severally), Plaintiff was exposed to a

             cutting/burning hazard because the lavatory pipes (inside the stall) and water supply

             lines are not completely wrapped which is in violation of Section 4.19.4 of the

             ADAAG and Section 606.5 of the 2010 ADA Standards of Accessible Design,

             because the lavatory pipes are not fully wrapped or maintained.

     vii.    As to Defendant Marshalls, Inc. (lessee/operator) and Defendant Hart LLC

             (owner/lessor of the property) (jointly and severally), Plaintiff was exposed to a

             cutting/burning hazard because the lavatory pipes (outside the stall) and water

             supply lines are not completely wrapped which is in violation of Section 4.19.4 of

             the ADAAG and Section 606.5 of the 2010 ADA Standards of Accessible Design.

     viii.   As to Defendant Marshalls, Inc. (lessee/operator) and Defendant Hart LLC

             (owner/lessor of the property) (jointly and severally), Plaintiff could not use the

             lavatory mirror (outside the stall) as the lavatory mirror is mounted too high, which

             is in violation of Section 213.3.5 of 28 C.F.R. Part 36, Section 4.19.6 of the

             ADAAG, and Section 603.3 of the2010 ADA Standards for Accessible Design.

             26.    Pursuant to 42 U.S.C. §12101et seq., and 28 C.F.R. §36.304, Defendants are

     required to make the commercial property which is being operated as a Marshalls store

     accessible to persons with disabilities since January 28, 1992. Defendants have jointly and

     severally failed to comply with this mandate.




                                                     9
Case 1:21-cv-22330-MGC Document 1 Entered on FLSD Docket 06/24/2021 Page 10 of 11




            27.     Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to grant

     Plaintiff injunctive relief, including an order to alter the 3301 Coral Way commercial

     property and the Marshalls store therein such that it is made readily accessible to, and

     useable by, individuals with disabilities to the extent required by the ADA.

            WHEREFORE, Plaintiff Jesus Gonzalez demands judgment against the Defendant

     Hart Miracle Marketplace, LLC (owner of the 3301 Coral Way commercial property) and

     Defendant Marshalls of MA, Inc. (operator of the Marshalls store located therein) and

     requests the following relief:

               a)        The Court declare that Defendants have violated the ADA;

               b)        The Court enter an Order directing Defendants to evaluate and neutralize

               their policies, practices and procedures toward persons with disabilities,

               c)        The Court enter an Order requiring Defendants to alter the 3301 Coral

               Way commercial property and the Marshalls store located therein such that it

               becomes accessible to and usable by individuals with disabilities to the full extent

               required by the Title III of the ADA;

               d)        The Court award reasonable costs and attorneys fees; and

               e)        The Court award any and all other relief that may be necessary and

               appropriate.

     Dated this 24th day of June 2021.

                                                  Respectfully submitted,

                                                  /s/ J. Courtney Cunningham
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                                                  10
Case 1:21-cv-22330-MGC Document 1 Entered on FLSD Docket 06/24/2021 Page 11 of 11




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                                        11
